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                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                          Alexandria Division

UNITED STATES OF AMERICA               )
                                       )      Case No. 1:20-cr-239
        v.                             )
                                       )      Hon. T.S. Ellis, III
ALEXANDA AMON KOTEY,                   )
                                       )      Trial: January 18, 2022
       Defendant.                      )

                   NOTICE OF SEALED EX PARTE FILING

      Defendant, Alexanda Amon Kotey, through counsel, hereby provides notice that

he has this day filed the Defendant’s Statement of Potential Defenses at Trial ex parte

and under seal, pursuant to Local Criminal Rule 49(E).

                                       Respectfully submitted,

                                       ALEXANDA AMON KOTEY,

                                       By counsel,
                                       Geremy C. Kamens
                                       Federal Public Defender

                                By:    /s/ Cadence Mertz
                                       Cadence A. Mertz
                                       Va. Bar No. 89750
                                       Assistant Federal Public Defender
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                           CERTIFICATE OF SERVICE

      I hereby certify that on August 16, 2021, I will file the foregoing with the Clerk
of Court using the CM/ECF system, which will then send a notification of such filing
(NEF) to counsel of record.


                                       /s/ Cadence Mertz
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